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             Exhibit 4
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                                                                                            EXHIBIT

                                                                                                  4
                                    UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF FLORIDA
                                         PENSACOLA DIVISION

ALLIANCE LAUNDRY SYSTEMS LLC,

         Plaintiff,

v.

TRUDY ADAMS, JOHN “CLAY” WILLIAMS and
AUTARKIC HOLDINGS, INC. D/B/A
LAUNDRYLUX,

         Defendants.
                                                                  Case No.: 23-cv-22130 (MCR)
-----------------------------------------------------
TRUDY ADAMS, JOHN “CLAY” WILLIAMS,

         Defendant/Counterclaim Plaintiffs,

v.

ALLIANCE LAUNDRY SYSTEMS LLC,
GREG REESE, MIKE HAND and SAMANTHA
BAKER,

         Plaintiff/Counterclaim
         Defendants/Third Party Defendants.


                      PLAINTIFF’S RESPONSES TO DEFENDANT LAUNDRYLUX’S
                              FIFTH SET OF DOCUMENT REQUESTS


         Plaintiff, Alliance Laundry System LLC (“Alliance”) submits the following objections

and responses to Defendant Autarkic Holdings, Inc.’s (“Laundrylux”) Fifth Set of Document

Requests (each individually referred to as a “Request” and collectively referred to as

“Requests”).

                                     OBJECTIONS TO INSTRUCTIONS

         Alliance objects to the Instructions set forth in the Requests to the extent that they



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require obligations beyond those provided for in the Federal Rules of Civil Procedure and the

Local Rules.

         RESPONSES TO LAUNDRYLUX’S FIFTH SET OF DOCUMENT REQUESTS

       REQUEST NO. 1: Documents sufficient to show that Plaintiff’s expert Mark Lanterman
successfully earned a B.S. in computer science from Upsala College.

       RESPONSE: Alliance objects to this Request to the extent that it seeks documents that

       are not in possession of Alliance. Alliance further objects to this request to the extent

       it seeks documents that may not be in the possession of Mr. Lanterman. Alliance has

       communicated Defendants’ Request No. 1 to Mark Lanterman and will produce

       responsive documents he provides to Alliance that are in his possession. Alliance is

       not withholding any documents based on its objections.

       REQUEST NO. 2: Documents sufficient to show that Plaintiff’s expert Mark Lanterman
successfully earned an M.S. in computer science from Upsala College.

       RESPONSE: Alliance objects to this Request to the extent that it seeks documents that

       are not in possession of Alliance. Alliance further objects to this request to the extent

       it seeks documents that may not be in the possession of Mr. Lanterman. Alliance has

       communicated Defendants’ Request No. 1 to Mark Lanterman and will produce

       responsive documents he provides to Alliance that are in his possession. Alliance is

       not withholding any documents based on its objections.

       REQUEST NO. 3: Documents sufficient to show that Plaintiff’s expert Mark Lanterman
successfully completed any educational program in cybersecurity at Harvard University.

       RESPONSE: Alliance objects to this Request to the extent that it seeks documents that

       are not in possession of Alliance. Alliance further objects to this request to the extent

       it seeks documents that may not be in the possession of Mr. Lanterman. Alliance has

       communicated Defendants’ Request No. 1 to Mark Lanterman and will produce


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      responsive documents he provides to Alliance that are in his possession. Alliance is

      not withholding any documents based on its objections.

      REQUEST NO. 4: All non-disclosure agreements referenced in Alliance’s responses to
Defendant Laundrylux’s Requests for Admission Nos. 15-18.

      RESPONSE: Alliance objects to this Request on the grounds that Alliance’s responses

      to Request for Admissions 15-18 do not reference any particular non-disclosure

      agreements. Instead, Alliance’s responses referring to non-disclosure agreements

      generally are part of Alliance’s objections regarding the overbreadth of the RFAs,

      including (without limitation) the fact that such RFAs are unlimited in time, scope, type

      of customer, type of quote or report, etc. Alliance is a large manufacturing and

      distribution company and many of its contracts, including NDAs, have no bearing on

      the claims or defenses in this case. Laundrylux’s request for the production of

      documents vaguely identified in its objections is overly broad, unduly burdensome

      and disproportionate to the needs of this case. To the extent Laundrylux is seeking

      broad examples of non-disclosure agreements Alliance has ever entered into, Alliance

      has produced certain documents. (See, e.g., ALSD000024030, ALSD000024034,

      ALSD000020491.) Alliance is withholding documents on the basis of its

      disproportionality objection.

       REQUEST NO. 5: All contractual agreements between Alliance and Kevin McDaniel
referenced in Alliance’s responses to Defendant Laundrylux’s Requests for Admission No. 20.

      RESPONSE: Alliance objects to this request on the basis that its response to Defendant

      Laundrylux’s Requests [sic] for Admission No. 20 does not reference any contractual

      agreements. Alliance will, however, produce its contractual agreement with Kevin

      McDaniel for his replacement deal. Alliance is not withholding any documents based



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       on its objections.

      REQUEST NO. 6: All contractual agreements between Alliance and Jim and Carol
Hochstetler for their Suds N Duds Coin Laundry project referenced in Alliance’s responses to
Defendant Laundrylux’s Requests for Admission No. 21.

       RESPONSE: Alliance objects to this request on the basis that its response to Defendant

       Laundrylux’s Requests [sic] for Admission No. 21 does not reference any contractual

       agreements. Alliance will, however, produce its contractual agreement with Jim and

       Carol Hochstetler for their Suds N Duds Coin Laundry Project.         Alliance is not

       withholding any documents based on its objections.

       REQUEST NO. 7: All contractual agreements between Alliance and Sing Bouapha for
his Cottage Hill Coin Laundromat project referenced in Alliance’s responses to Defendant
Laundrylux’s Requests for Admission No. 28.

       RESPONSE: Alliance objects to this request on the basis that its response to Defendant

       Laundrylux’s Requests [sic] for Admission No. 28 does not reference any contractual

       agreements. Alliance will, however, produce its contractual agreement with Sing

       Bouapha for his Cottage Hill Coin Laundromat project.

Dated: January 27, 2025

                                     /s/Melinda S. Giftos
                                     Melinda S. Giftos, Florida Bar No. 0302960
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                                     Angela B. Hardin (admitted pro hac vice)
                                     Brendan R. Zee-Cheng (admitted pro hac vice)
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                                   Attorneys for Plaintiff, Alliance Laundry Systems LLC
                                   and Third-Party Defendants, Greg Reese, Mike Hand and
                                   Samantha Baker



                               CERTIFICATE OF SERVICE

       This is to certify that on January 27, 2025, a copy of the above and foregoing was
served via email upon counsel for Defendant Autarkic Holdings, Inc. d/b/a Laundrylux:

                                   /s/Melinda S. Giftos
                                   Melinda S. Giftos, Florida Bar No. 0302960
                                   Laura K. Higbee (admitted pro hac vice)
                                   Angela B. Hardin (admitted pro hac vice)
                                   Brendan R. Zee-Cheng (admitted pro hac vice)
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                                   Attorneys for Plaintiff, Alliance Laundry Systems LLC
                                   and Third-Party Defendants, Greg Reese, Mike Hand and
                                   Samantha Baker




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